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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

NANIK BHAGIA, SAIHAT                             §
CORPORATION,                                     §
                                                 §
           Plaintiffs,                           §
                                                 §
v.                                               §            Civil Action No. 4:22-cv-00452
                                                 §
PHH MORTGAGE SERVICES, INC.,                     §
                                                 §
           Defendant.                            §

                                    JOINT STATUS REPORT

           Plaintiffs Nanik Bhagia and Saihat Corporation (“Plaintiffs”) and Defendant PHH

Mortgage Services, Inc. (“Defendant”) (collectively the “Parties”) file this Joint Status Report as

ordered by the Court (ECF No. 16, Minute Entry on July 14, 2022) and respectfully show the

Court as follows:

           Plaintiffs submitted an offer to Defendant, which is currently being reviewed by

Defendant. Defendant needs to conduct an appraisal of the Property to properly consider

Plaintiffs’ offer. An exterior appraisal has been conducted. The Parties are in the process of

arranging an interior appraisal. The Parties believe that non-binding mediation may be useful to

resolve the issues in this case if the settlement discussions fail.

           Furthermore, the Parties have discussed a potential mediator, Honorable John Coselli,

former judge for the 125th Judicial District Court of Harris County, Texas, to mediate this

dispute. The Parties respectfully request the opportunity to mediate this dispute prior to a trial

setting.




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                                      Respectfully submitted,

                                      By:    /s/ Nicholas M. Frame
                                            MARK D. CRONENWETT
                                            Attorney in Charge
                                            Texas Bar No. 00787303
                                            Southern District Admission # 21340
                                            mcronenwett@mwzmlaw.com

                                            NICHOLAS M. FRAME
                                            Of Counsel
                                            Texas Bar No. 24093448
                                            Southern District Admission #3121681
                                            nframe@mwzmlaw.com

                                      MACKIE WOLF ZIENTZ & MANN, P. C.
                                      14160 North Dallas Parkway, Suite 900
                                      Dallas, TX 75254
                                      Telephone: (214) 635-2650
                                      Facsimile: (214) 635-2686

                                      ATTORNEYS FOR DEFENDANT

                                      /s/ Jerry Schutza
                                      Jerry Schutza
                                      SBN: 17853800
                                      815 Walker, Ste. 1453
                                      Houston, Texas 77002
                                      Telephone (713) 963 9988
                                      Facsimile: (713) 963 0085
                                      Email: schutzalaw@yahoo.com
                                      Attorney for Plaintiffs




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                              CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2022, a true and correct copy of the foregoing was
served via e-service on the following counsel of record:

   Jerry L. Schutza
   815 Walker Street, Suite 1453
   Houston, Texas 77002

                                               /s/ Nicholas M. Frame          ___
                                               NICHOLAS M. FRAME




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